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U.S. Department of Justice

Matthew M. Graves
United States Attorney

District of Columbla

Judiciary Center
555 Fourth St. NIV.
Washington, D.C, 20530

January 11, 2022

Hope Lefeber, Esq.

Two Penn Center
1500 JFK Boulevard; Suite 1205 os ee
Philadelphia, PA 19102 FILED

David Benowitz, Esq. MAR - 8 2022
409 Seventh Street, NW. Clerk, U.S. District ang
Suite 200 Bankruptcy Courts
Washington, DC 20004

Re: United States v. Samuel Lazar
Criminal Case No..22-071 (ABJ)

Dear Ms. Lefeber and Mr. Benowitz:

This letter sets forth the full and complete plea offer to your client, Samuel Lazar
(hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on February 4, 2022. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement
(hereinafter referred to as “this Agreement”), The terms of the offer are as follows:

1. Charges and Statutory Penalties
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Your client agrees to plead guilty to Count One in the Indittmrent, charging your client
with Assaulting, Resisting or Impeding Certain Officers Using a Dangerous Weapon, in

violation of 18 U.S.C. § 111(a) and (b).

Your client understands that a violation of 18 U.S.C. § 111(a) and (b) carries a maximum

sentence of 20 years of imprisonment; a fine of $250,000, pursuant,to 18 U.S.C. § 3571(b)(3); a

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term of supervised release of not more than 3 years, pursuant to 18 U.S.C. § 3583(b)(2); and an
obligation to pay any applicable interest or penalties on fines and restitution not timely made.

In addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia, Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing

Commission, Guidelines Manual (2018) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the

costs of any imprisonment, term of supervised release, and period of probation. Further, your

client understands that, if your client has two or more convictions for a crime of violence or
felony drug offense, your client may be subject to the substantially higher penalties provided for

in the career-offender statutes and provisions of the Sentencing Guidelines.

2 Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense to which your client is pleading
guilty, Please have your client sign and return the Statement of Offense as a written proffer of

evidence, along with this Agreement.

3. Additional Charges

In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. The Government will request that the Court dismiss the remaining counts. of the
Indictment in this case at the time of sentencing. Your client agrees and acknowledges that the

charges to be dismissed at the time of sentencing were based in fact.

After the entry of your client’s plea of guilty to the offense identified in paragraph 1
above, your client will not be charged with any non-violent criminal offense in violation of
Federal or District of Columbia law which was committed within the District of Columbia by
your client prior to the execution of this Agreement and about which this Office was made aware

by your client prior to the execution of this Agreement. However, the United States expressly
reserves its right to prosecute your client for any crime of violence, as defined in 18 USC. § 16
and/or 22 D.C. Code § 4501, if in fact your client committed or commits such a crime of

violence prior to or after the execution of this Agreement.

4, Sentencing Guidelines Analysis

Your client understands that the sentence in this case will be determined by the Court,
U.S.C, § 3553(a), including a consideration of the

ederal Rule of Criminal Procedure 11(c)(1)(B), and to

pursuant to the factors set forth in 18
the parties agree to the following:

Sentencing Guidelines. Pursuant to F
assist the Court in determining the appropriate sentence,

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Estimated Offense Level Under the Guidelines .

A.
The parties agree that the following Sentencing Guidelines sections apply:
ULS.S.G, § 2A2.2(a) Base Offense Level 14
U.S.S.G. § 2A2,2(b)(2)(B) | Darigerous Weapon Used +4
U,S.S.G. § 2A2.2(b)(7) 18 U.S.C. § 111(b) Conviction +2
U.S.S,.G. § 3A1.2(a) and (b) Official Victim +6
Total 26

Acceptance of Responsibility

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence. Furthermore,

assuming your client has accepted responsibility as described in the previous sentence, the
Government agrees that an additional 1-level reduction will be appropriate, pursuant to U.S.S.G,

§ 3E1.1(6), because your client has assisted authorities by providing timely notice of your
client’s intention to enter a plea of guilty, thereby permitting the Government to avoid preparing

for trial and permitting the Court to allocate its resources efficiently.

Nothing in this Agreement limits the right of the Government to seek denial of the

adjustment for acceptance of responsibility, pursuant to U.S.S.G, § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any

agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged

in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this

Agreement.
In accordance with the above, the Estimated Offense Level will be at least 23,

B, Estimated Criminal History Category

Based upon the information now available to this Office including the pretrial services
report and representations by the defense, your client has at least the following criminal

convictions:

2004- Criminal Mischief (time served)
2016- Statement Under Penalty (fine)

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Accordingly, your client is estimated to have | criminal history point and your client’s
Criminal History Category is estimated to be I (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

Cc, Estimated Guidelines Range

Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Scntencing Guidelines range is 46 months to 57 months

(the “Estimated Guidelines Range”). In addition, the partics agree that, pursuant to U.S.S.G. §
5E1.2, should the Court impose a fine, at Guidelines level 23, the estimated applicable fine range

is $20,000 to $200,000. Your client reserves the right to ask the Court not to impose any

applicable fine.
The parties agree that, solely for the purposes of calculating the applicable range under

the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted, except the Government reserves the right to
request an upward departure pursuant to U.S.S.G. § 3A1.4, n. 4. Except as provided for in the
“Reservation of Allocution” section below, the parties also agree that neither party will seek any

offense-level calculation different from the Estimated Offense Level calculated above in
subsection A. However, the parties are free to argue for a Criminal History Category different

from that estimated above in subsection B.

Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or

Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by

either party.
Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level

based on that post-agreement conduct.

Agreement as to Sentencing Allocution

5.
The parties further agree that a sentence within the Estimated Guidelines Range would

constitute a reasonable sentence in light of all of the factors set forth in 18 USC, § 3553(a); should
such a sentence be subject to appellate review notwithstanding the appeal waiver provided below.

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However, the parties agree that either party may seek a variance and suggest that the Court consider
a sentence outside of the applicable Guidelines Range, based upon the factors to be considered in

imposing a sentence pursuant to 18 U.S.C. § 3553(a),

6. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement, The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the.presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors
listed in 18 U.S.C, § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined

by the Court is different from the Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

Court Not Bound by this Agreement or the Sentencing Guidelines

7.
Your client understands that the sentence in this case will be imposed in accordance with

18 U.S.C, § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government's

recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offense

authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range. The Government cannot,

and does not, make any promise or representation as to what sentence your client will receive.
Moreover, it is understood that your client will have no right to withdraw your client’s plea of
guilty should the Court impose a sentence that is outside the Guidelines range or if the Court

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does not follow the Government’s sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Court. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a

breach of this Agreement.

8, Conditions of Release

Your client acknowledges that, because your clicnt is pleading guilty to an offense
described in subparagraph (A), (B), or (C) of 18 U.S;C, § 3142(H(L), the Court is required to
order your client to be detained pending sentencing pursuant to 18 U.S.C. § 3143(a)(2).

9. Cooperation

a Your client agrees to cooperate with the Office of the United States Attorney for the
District of Columbia on the following terms and conditions; —

(a) Your.client shall cooperate fully, truthfully, completely and forthrightly with this
Office and other Federal, state and local law enforcement authorities identified by this Office in
any and all matters as to which the Government deems the cooperation relevant. Your client
acknowledges that your client's cooperation may include, but will not necessarily be limited to:
answering questions; providing sworn written statements; taking government-administered
polygraph examination(s); and participating in covert law enforcement activities. Any refusal by
your client to cooperate fully, truthfully, completely and forthrightly as directed by this Office
and other Federal, state and local law enforcement authorities identified by this Office in any and
all matters in which the Government deems your client's assistance relevant will constitute a
breach of this Agreement by your client, and will relieve the Government of its obligations under
this Agreement, including, but not limited to, its obligation to inform this Court and the
Departure Guidelines Committee of the United States Attorney's Office for the District of
Columbia of any assistance your client has provided. Your client agrees, however, that such
breach by your client will not constitute a basis for withdrawal of your client's plea of guilty or

otherwise relieve your client of your client's obligations under this Agreement.

(b) Your client shall promptly turn over to the Government, or other law enforcement
authorities, or direct such law enforcement authorities to, any and all evidence of crimes about
which your client is aware; all contraband and proceeds of such crimes; and all assets traceable
to the proceeds of such crimes. Your client agrees to the forfeiture of all assets which are

proceeds of crimes or traceable to such proceeds of crimes.

Your client shall submit a full and complete accounting ofall your client's
your client's name or in the name of a third party.

(c)

financial assets, whether such assets are in

(d) Your client acknowledges and understands that, during the course of the
t, your client will be interviewed by law enforcement

cooperation outlined in this Agreemen : .
agents and/or Government attorneys. Your client waives any right to have counsel present during
t with law enforcement agents and Government attorneys

these interviews and agrees to mee
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outside of the presence of counsel. If, at some future point, you or your client desire to have
counsel present during interviews by law enforcement agents and/or Government attorneys, and
you communicate this decision in writing to this Office, the Government will honor this request,

and this change will have no effect on any other terms and conditions of this Agreement.

Your client shall testify fully, completely and truthfully before any and all Grand

(e)
Juries in the District of Columbia and elsewhere, and at any and all trials of cases or other court
proceedings in the District of Colwnbia and elsewhere, at which your client's testimony may be

deemed relevant by the Government.
Your client understands and acknowledges that nothing in this Agreement allows

(f)
your client to commit any criminal violation oflocal, state or federal Jaw during the period of
your client's cooperation with law enforcement authorities or at any time prior to the sentencing
in this case. The commission of a criminal offense during the period of your client's cooperation
or at any time prior to sentencing will constitute a breach of this Agreement and will relieve the

Government of alt of its obligations under this Agreement, including, but not limited to, its
obligation to inform this Court and the Departure Guidelines Committee of the United States

Attorney's Office for the District of Columbia of any assistance your client has provided.
However, your client acknowledges and agrees that such a breach of this Agreement will not

entitle your client to withdraw your client's plea of guilty or relieve your client of the obligations

under this Agreement.

10. Waivers

a. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this
Agreement)may be commenced or reinstated against your client, notwithstanding the expiration
of the statute of limitations between the signing of this Agreement and the commencement or
reinstatement of such prosecution. It is the intent of this Agreement to waive all defenses based

on the statute of limitations with respect to any prosecution of conduct set forth in the attached
Statement of Offense that is not time-barred on the date that this Agreement is signed.

b. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to plead not guilty, and the right to a jury trial. If there were a jury
trial, your client would have the right to be represented by counsel, to confront and cross-

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examine witnesses against your client, to challenge the admissibility of evidence offered against
your client, to compel witnesses to appear for the purpose of testifying and presenting other
evidence on your client’s behalf, and to choose whether to testify. If there were a jury trial and
your client chose not to testify at that trial, your client would have the right to have the jury
instructed that your client’s failure to testify could not be held against your client. Your client
would further have the right to have the jury instructed that your client is presumed innocent
until proven guilty, and that the burden would be on the United States to prove your client’s guilt

beyond a reasonable doubt, If your client were found guilty after a trial, your client would have
the right to appeal your client’s conviction. Your client understands that the Fifth Amendment to

the Constitution of the United States protects your client from the use of self-incriminating

statements in a criminal prosecution. By entering a plea of guilty, your client knowingly and
voluntarily waives or gives up your client’s right against self-incrimination.

Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the

admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the

rights that arise under these rules in the event your client withdraws your client’s guilty plea or

withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client also agrees that the
sentencing in this case may be delayed until your client’s cooperation has been completed, as
determined by the Government, so that the Court will have the benefit of all relevant information
before a sentence is imposed. Your client understands that the date for sentencing will be set by

the Court.

c. Appea! Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
statute(s) to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute(s), Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your cliertt knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement

Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,

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basis of ineffective assistance of counsel, but not to

your client retains the right to appeal on the 518.
raise on appeal other issues regarding the conviction or sentence.

d. Collateral Attack
Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
but not limited to, a motion brought

which it was determined in any collatcral attack, including,
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
jent received ineffective

motion is based on newly discovered evidence or on a claim that your cl
assistance of counsel, Your client reserves the right to file a motion brought under 18 U.S.C,

§ 3582(c)(2), but agrees to waive the right to appeal the denial of such a motion.

e. Witness Fees

Your client further agrees to waive all rights, claims or interest in any witness fee that
your client may be eligible to receive pursuant to 28 U.S.C. § 1821 for your client’s appearance
at any grand jury, witness conference, or court proceeding, during the course of your client’s
cooperation pursuant to this Agreement or any term of your client’s incarceration.

f. Hearings by Video Teleconference and/or Teleconference

Your client agrees to consent, under the CARES Act, Section 15002(b)(4) and otherwise,
to hold any proceedings in this matter — specifically including but not limited to presentment,

initial appearance, plea hearing, and sentencing — by video teleconference and/or by
teleconference and to waive any rights to demand an in-person/in-Court hearing. Your client

further agrees to not challenge or contest any findings by the Court that it may
properly proceed by video teleconferencing and/or telephone conferencing in this case

because, due to the COVID-19 pandemic, an in-person/in-Court hearing cannot be
conducted in person without seriously jeopardizing public health and safety and that further

there are specific reasons in this case that any such hearing, including a plea or sentencing
hearing, cannot be further delayed without serious harm to the interests of justice.

Use of Self-Incriminating Information

11.
The Government agrees pursuant to U.S.S.G. § 1B1.8(a), that self-incriminating

information provided by your client pursuant to this Agreement or during the course of
debriefings conducted in anticipation of this Agreement, and about which the Government had

no prior knowledge or insufficient proof in the absence of your client’s admissions, will not be
used by the Government at the time of sentencing for the purpose of determining the applicable
guideline range. However, all self-incriminating information provided by your client may be
used for the purposes and in accordance with the terms identified in U.S.S.G. § 1B1.8(b).

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12. Restitution
Your client acknowledges that the riot that occurred on January 6, 2021, caused as of May

17, 2021, approximately $1,495,326.55 damage to the United States Capitol. Your client agrees
as part of the plea in this matter to pay restitution to the Architect of the Capitol in the amount of

$2,000.
Payments of restitution shall be made to the Clerk of the Court. In order to facilitate the

collection of financial obligations to be imposed in connection with this prosecution, your client
agrees to disclose fully all assets in which your client has any interest or over which your client
exercises control, directly or indirectly, including those held by a spouse, nominee or other third

party. Your client agrees to submit a completed financial statement on a standard financial
disclosure form which has been provided to you with this Agreement to the Financial Litigation

Unit of the United States Attorney’s Office, as it directs. If you do not receive the disclosure
form, your client agrees to request one from usadc.ecfflu@usa.doj.gov. Your client will

complete and electronically provide the standard financial disclosure form to
usadc.ecfflu@usa.doj.gov 30 days prior to your client’s sentencing, Your client agrees to be
contacted by the Financial Litigation Unit of the United States Attorney’s Office, through

defense counsel, to complete a financial statement. Upon review, if there are any follow-up
questions, your client agrees to cooperate with the Financial Litigation Unit. Your client
promises that the financial statement and disclosures will be complete, accurate and truthful, and

understands that any willful falsehood on the financial statement could be prosecuted as a
separate crime punishable under 18 U.S.C. § 1001, which carries an additional five years’

incarceration and a fine.
Your client expressly authorizes the United States Attorney’s Office to obtain a credit
report on your client in order to evaluate your client’s ability to satisfy any financial obligations

imposed by the Court or agreed to herein.

Your client understands and agrees that the restitution or fines imposed by the Court will
be due and payable immediately and subject to immediate enforcement by the United States. If
‘the Court imposes a schedule of payments, your client understands that the schedule of payments
is merely a minimum schedule of payments and will not be the only method, nor a limitation on
the methods, available to the United States to enforce the criminal judgment, including without
limitation by administrative offset. If your client is sentenced to a term of imprisonment by the
Court, your client agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility

Program, regardless of whether the Court specifically imposes a schedule of payments.

Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by

this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under

this Agreement.

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13. Breach of Agreement
nt, your client fails

Your client understands and agrees that, if after entering this Agreeme clie
specifically to perform or to fulfill completely cach and every one of your client 8 oblizstions
under this Agreement, or engages in any criminal activity prior to sentencing, your client wi
have breached this Agreement. In the event of such a breach: (a) the Government will be ee
from its obligations under this Agreement; (b) your client will not have the right to withdraw t €
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; (d) no motion pursuant to Section SK1.1 of the
Sentencing Guidelines or 18 U.S.C, § 3553(c) will be filed or sought; and (e) the Government
will be free to use against your client, directly and indirectly, in any criminal or civil proceeding,

or materials provided by your

all statements made by your client and any of the information
client, including such statements, information and materials provided pursuant to this Agreement

or during the course of any debriefings conducted in anticipation of, or after entry of, this
Agreement, whether or not the debriefings were previously characterized as “off-the-record”
debriefings, and including your client’s statements made during proceedings before the Court
pursuant to Rule 11 of the Federal Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove

only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to

make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after

the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any'such offenses. Your client further understands

that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

14, Government's Obligations

The Government will bring to the Court's attention at the time of sentencing the nature

and extent of your client's cooperation or lack of cooperation.

The Departure Guideline Committee of the United States Attorney's Office for the
District of Columbia will evaluate the full nature and extent of your client's cooperation to
determine whether your client has provided substantial assistance in the investigation or
prosecution of another person who has committed an offense. If the Departure Guideline
Committee determines that your client has provided such substantial assistance, this Office shall
file a departure motion pursuant to Section 5K1.1 of the Sentencing Guidelines, which would
afford your client an opportunity to persuade the Court that your client should be sentenced to a
lesser period of incarceration and/or fine than indicated by the Sentencing Guidelines. The

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determination of whether your client has provided substantial assistance warranting the filing of
a motion pursuant to Section SK1.1 of the Sentencing Guidelines is within the sole discretion of

the United States Attorney's Office for the District of Columbia and is not reviewable by the
Court, In the event your client should fail to perform specifically and fulfill completely each and
every one of your client's obligations under this Agreement, the Government will be free from its
obligations under this Agreement, and will have no obligation to present your client's case to the

Departure Guideline Committee or file a departure motion pursuant to Section SKI .1 of the

Sentencing Guidelines.

15, Sealing
It is further agreed that your client and the Government, subject to approval by the United

States Department of Justice, shall request that the Court place under seal this Agreement and
other relevant proceedings and documents entered into the record in this matter. Both parties
agree that this is necessary in order to protect the personal safety of your client and the law
enforcement agents/officers working with your client. Both parties further agree that if the
record is sealed in this matter, it shall remain under seal, subject to Court approval, until your
client is sentenced or such other time as the Court might direct in response to a motion made by

the United States.

16. Complete Agreement

No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the

District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.

This Agreement does not bind the Civil Division of this Office or any other United States

Attorney’s Office, nor does it bind any other state, local, or federal prosecutor. It also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against

your client.
If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than

February 4, 2022.

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Sincerely yours,

Matthew M. Graves
United States Attorney

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Douglas G. Collyer
Assistant United States Attorney

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DEFRNDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorneys, Hope

Lefeber and David Benowitz. I fully understand this Agreement and agree to it without
reservation. I do this voluntarily and of my own free will, intending to be legally bound. No
threats have been made to me nor am I under the influence of anything that could impede my

ability to understand this Agreement fully. I am pleading guilty because I am in fact guilty of the

offense identified in this Agreement.

‘I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorney in connection

Z—

ATTORNEY’S ACKNOWLEDGMENT

with this Agreetnent and matters related to it.

Date: 2- | [ - 22 f
Samuel Lazar *
Defendant

I have read every page of this Agreement, reviewed this Agreement with my client,
Samuel Lazar, and fully discussed the provisions of this Agreement with my client. These pages

accurately and completely set forth the entire Agreement. I concur in my client’s desire to plead

guilty as set forth in this Agreement.

Date: > ~ / [0 er DA ESZSee
Hope ©, Ildfeber, Esq. /

Attorney for Defendant

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Date: Z / 20 / UL
David B, Benowitz/Esa
Attorney for Defefrdant

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